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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN

CHERYL BESSER, individually and on behalf of
all others similarly situated,                               Case No. 2:13-cv-14207-BAF-DRG

                       Plaintiff,

       v.

BESTSOURCE CREDIT UNION,

                       Defendant.

                                      ORDER OF DISMISSAL

       This court having been advised by the parties that they stipulate to the dismissal of the

above action.

       Accordingly, the above-entitled action is dismissed with prejudice and without costs.

However, the court expressly reserves jurisdiction/authority to enforce any conditions or terms of

the settlement for a period of 60 days.

                                             _S/ Bernard A. Friedman_____________________
                                                    Bernard A. Friedman
                                                    United States District Judge
Dated: April _16, 2014


       I hereby certify that a copy of the foregoing document was served upon counsel of record

by electronic and/or ordinary mail.

                                                     Carol L. Mullins________________
                                                     Case Manager
